Case. 2:21-cr-00150-JAW.Document.1__ Filed 09/22/21. Page 1 of 3.. PagelID #: 1

U.S, DISTRICT COURT

UNITED STATES DISTRICT COURT PORTLAND
DISTRICT OF MAINE RECEIVED & FILED
UNITED STATES OF AMERICA 2021 SEP 22 Pu 39
v. Criminal NoRidi= or (5 OS AW
JEFFREY RICHARD )
)
INDICTMENT
The grand jury charges that:
COUNT ONE

(Tax Evasion)

Beginning in at least 2013 and continuing through about March 2017, in the District of

Maine and elsewhere, the defendant,

JEFFREY RICHARD,
willfully attempted to evade and defeat the payment of a large part of the employment
withholding taxes due and owing by Black Bear Industrial, Inc., a corporation that had its
principal place of business in Rumford, Maine, to the United States of America, for the calendar
years 2013-2016, by committing the following affirmative acts, among others:

(1) RICHARD regularly used funds from his business account to take cash
withdrawals, pay personal expenses, make payments on his business property, make loan
payments to creditors, and make personal purchases, while failing to make payments toward
unpaid taxes; and

(2) RICHARD created two nominee entities, Northern Mountain Construction, LLC,
and Midwest Industrial Corporation, in order to defeat attempts by the Internal Revenue Service
to collect unpaid taxes.

In violation of Title 26, United States Code, Section 7201.
Case 2:21-cr-00150-JAW._Document 1 Filed.09/22/21 Page 2 of 3. PagelD #: 2

COUNTS TWO THROUGH NINE
(Failure to Pay Over Employment Tax)

1. As the founder, president, sole shareholder and operator of Black Bear Industrial,
Inc., defendant JEFFREY RICHARD was a “responsible person,” that is, he had the corporate
responsibility to collect, truthfully account for, and pay over Black Bear Industrial’s payroll
taxes.

2. Beginning on about April 30, 2015, and continuing up to and including about
January 31, 2017, in the District of Maine, the defendant,

JEFFREY RICHARD,

willfully failed to truthfully account for and pay over to the Internal Revenue Service all of the
federal income taxes withheld and Federal Insurance Contributions Act (FICA) taxes due and
owing to the United States on behalf of Black Bear Industrial, Inc. and its employees, for each of

the following quarters, with each calendar quarter a separate count of this Indictment:

 

 

 

 

 

 

 

 

 

COUNT QUARTER
TWO First quarter of 2015
THREE Second quarter of 2015
FOUR Third quarter of 2015
FIVE Fourth quarter of 2015
SIX First quarter of 2016
SEVEN Second quarter of 2016
EIGHT Third quarter of 2016
NINE Fourth quarter of 2016

 

 

 

 

In violation of Title 26, United States Code, Section 7202.
Case 2:21-cr-00150-JAW__Document.1—Filed_09/22/21 Page 3-of 3._PageID #:.3

A TRUE BILL,

 

FEC.

Assistént U.S. Attorney ~~

Date: a baal Rom
